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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )                 8:13CR107
                     Plaintiff,               )
                                              )
       vs.                                    )                  ORDER
                                              )
MICHAEL HUYCK,                                )
                                              )
                     Defendant.               )


       This matter is before the court on the motion for appointment of counsel by defednant
Michael Huyck (Huyck) (Filing No. 255). Huyck is represented by Jerry M. Hug as retained
counsel. Huyck now seeks the appointment of counsel since his finances have been
exhausted, he has been detained in custody, and this is a prolonged and complex case. The
court held a hearing on the matter on August 5, 2014. Huyck was present with Mr. Hug and
the United States was represented by Assistant U.S. Attorney Michael P. Norris. The court
heard from Mr. Hug and Huyck in camera. The court finds Huyck is eligible for appointment
of counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended
Criminal Justice Act Plan for the District of Nebraska. Thereafter the court granted the
motion to appoint counsel and reserved the matter of appointing Mr. Hug following the filing
of an ex parte affidavit of work performed by Mr. Hug. The affidavit was filed on August 8,
2014 (Filing No. 265). Following an examination of Mr. Hug’s affidavit, the court determines
it will be in the interest of justice to appoint Mr. Hug,1823 Harney Street, #1004, Omaha, NE
68102, (402) 346-1733, to represent Huyck for the balance of these proceedings
commencing as of August 11, 2014.
       The clerk shall provide a copy of this order to the Office of the Federal Public
Defender.
       IT IS SO ORDERED.
       DATED this 11th day of August, 2014.
                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
